                        Case 6:96-cr-10076-JTM Document 241 Filed 12/27/19 Page 1 of 2

                                                                                                                                                 FILl:D
                                                                                                                                              U.S. District Court
                                                                                                                                               District of Kansas


                                                                                                                                           DEC 2 7 2019

                                                                                                                           - -By-~Cle~~~ttr      -
                                                                                                                                                        v
                                                                                                                                                             Court Cleric- -
                                                                                                                                                            1Deputy
                      /177,d,'   e1u·d' iLl.•~t,.J:"J';Sa"2AJ ,/¼_L~
                                 U. ~- ibs/AJ·J t!ov.6-i
                                 JA'.J/,,_'°cJ o F /<r,,u,t;J./ J,,/Jc4-:/4_ a·,//~10/)_
                                 L./Q I /\.I /f?At<.h.) S/4uf
                                  M'rh/f;a, 1<s ~ 7e>_o ~ -,,;o9~
                                                                                              ------------------




- - - - - --            - -~Q,,, l,;l_/.?1/~019.,             &/ LJ<'           />e, .Tc-9J/4-l.(7f£s-) ?l7~-2.J3,-=,,___ _ __
- - - ----t-11--'~'4///h l'>17 dof.rl: e:/4'-76/(;t                    7
                                                                           .~             JvCA~7,            /.z{/l.~L'd_                /2,q.J /4,J.~ .cz__ __
- - - - - ---1+--s-'-!r.L.l';,u..).-L..J,.=-1·0AJ"/4 IJ./0,,zs ~ - ;<)Lid L9ffAPK.1·hJ,9 ltf ✓/2,ttt o4~ t ,9? o                                     s.bL~.. ,_____
                          cl/'?/ /Jf/    ~ /ht enu:;r,zc;, Loo,,.., -1:A               su ,,fr:         h'uu ./l/4,,r. L£ /2u




                                                                                 .A"°"C. L 8~ .,.,'. L_ --L,/!._,,O,e....•...r..g,;2.<ao....,.t{c_,/c"-"CO""""l;.£..lo,£__ _ __
                                                                                ~·
                                       Case 6:96-cr-10076-JTM Document 241 Filed 12/27/19 Page 2 of 2




                                                                                                                                         ----~ \'i'is-'lll:¢
   A'c&r. . Dtv'.,'o o
        /           NAME
                         ~,,&')                                                t"it: I R:OPttX Ml ~                                  l~:rf ·~ •-~~
                                                                                                                                     fl:               ,:-:i.J
                                                                                                                                     ::.'.;.;;..   -,,,.,/{~  -
                                                                           ::.;:~:-} 'Of.t:. :;_
                                                                                               : {)19 AM 2                   i.      --~--s ·
    Ol?W6-0Y       REG. NO.
                                                                                                                                         ~ _.,,.   'tW•
                                                                                                                                                      !-'




  FEDERAL CORRECTIONAL INSTITUTION
  PD . BOX 1000
  MILAN,MICHIGANRECEIVED                                  •   08486-031 •
                                                                   United States C ourt Clerk
                                                                   401 N Market ST
                                                                   U .S , Distri ct Cou1-t
                              DEC 27 2019                          W ich ita , KS 67202
                                                                   United States




                                               E.7202-20 89'39                I" 1 h11 11111111, ,I II I• I• 111• 1llill 1 1ll 1 I 11 •I II 11 1 I ,I 11 1 11'•1111'

iEUL 1""7t9.Tl!   /..1/.,J1/;J01j   I' -- - - - - - - - - - - - - - - - - - - ~ - - - - - - - -
